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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                             MISSOULA DIVISION

 UNITED STATES OF AMERICA,                 CR 18-23-M-DLC

               Plaintiff,                  PLEA AGREEMENT

        vs.

 WILLIAM DALE NEWHOFF, JR.,

               Defendant.


       Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the United

States of America, represented by Cyndee L. Peterson, Assistant United States

Attorney for the District of Montana, and the defendant, William Dale Newhoff,

Jr., and the defendant's attorney, Eric R. Henkel, have agreed upon the following :




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       1.     Scope: This plea agreement is between the United States Attorney's

Office for the District of Montana and the defendant. It does not bind any other

federal, state, or local prosecuting, administrative, or regulatory authority, or the

United States Probation Office.

       2.     Charges: The defendant agrees to plead guilty to count I of the

indictment, which charges the crime of Prohibited Person in Possession of a

Firearm, in violation of 18 U.S.C. § 922(g)(l). This offense carries a maximum

punishment of 10 years imprisonment, a $250,000 fine, three years of supervised

release, and a $100 special assessment. The defendant will also admit the

forfeiture allegation.

       At the time of sentencing, if the Court accepts this plea agreement, the

United States will move to dismiss count II of the indictment.

       3.    Nature of the Agreement: The parties agree that this plea agreement

will be governed by Rule 1 l(c)(l)(A) and (B), Federal Rules of Criminal

Procedure. The defendant acknowledges that the agreement will be fulfilled

provided the United States: a) moves to dismiss, and the Court agrees to dismiss,

count II of the indictment and does not pursue other charges against the defendant;

and b) makes the recommendations provided below. The defendant understands

that if the agreement is accepted by the Court, and count II is dismissed, there will




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not be an automatic right to withdraw the plea even if the Court does not accept or

follow the recommendations made by the United States.

       4.           Admission of Guilt: The defendant will plead guilty because the

defendant is guilty of the charge contained in count I of the indictment. In

pleading guilty, the defendant acknowledges that:

       First, the defendant knowingly possessed a firearm, namely a Hi-Point

Firearms, Model C9, 9mm Luger pistol;

       Second, the firearm identified above had been shipped and transported from

one state to another; and

       Third, at the time the defendant possessed the firearm identified above, the

defendant had been convicted in a court of a crime punishable by imprisonment for

a term exceeding one year.

       For the Forfeiture Allegation, the defendant agrees to forfeit the Hi-Point

Firearms, Model C9, 9mm Luger pistol and any ammunition that was involved in

the offense.

       5.           Waiver of Rights by Plea:

                    (a)     The government has a right to use against the defendant, in a

prosecution for perjury or false statement, any statement given under oath during

the plea colloquy.




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               (b)    The defendant has the right to plead not guilty or to persist in a

plea of not guilty.

               (c)    The defendant has the right to a jury trial unless, by written

waiver, the defendant consents to a non-jury trial. The United States must also

consent and the Court must approve a non-jury trial.

               (d)    The defendant has the right to be represented by counsel and, if

necessary, have the Court appoint counsel at trial and at every other stage of these

proceedings.

               (e)    If the trial is a jury trial, the jury would be composed of 12

laypersons selected at random. The defendant and the defendant's attorney would

have a say in who the jurors would be by removing prospective jurors for cause

where actual bias or other disqualification is shown, or without cause by exercising

peremptory challenges. The jury would have to agree unanimously before it could

return a verdict of either guilty or not guilty. The jury would be instructed that the

defendant is presumed innocent, and that it could not convict unless, after hearing

all the evidence, it was persuaded of the defendant's guilt beyond a reasonable

doubt.

               (f)    If the trial is held by the judge without a jury, the judge would

find the facts and determine, after hearing all of the evidence, whether or not the

judge was persuaded of the defendant's guilt beyond a reasonable doubt.



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             (g)    At a trial, whether by a jury or a judge, the United States would

be required to present its witnesses and other evidence against the defendant. The

defendant would be able to confront those government witnesses and the

defendant's attorney would be able to cross-examine them. In tum, the defendant

could present witnesses and other evidence. If the witnesses for the defendant

would not appear voluntarily, their appearance could be mandated through the

subpoena power of the Court.

             (h)    At a trial, there is a privilege against self-incrimination so that

the defendant could decline to testify and no inference of guilt could be drawn

from the refusal to testify. Or the defendant could exercise the choice to testify.

             (i)   If convicted, and within 14 days of the entry of the Judgment

and Commitment, the defendant would have the right to appeal the conviction to

the Ninth Circuit Court of Appeals for review to determine if any errors were made

that would entitle the defendant to reversal of the conviction.

             (j)   The defendant has a right to have the district court conduct the

change of plea hearing required by Rule 11, Federal Rules of Criminal Procedure.

By execution of this agreement, the defendant waives that right and agrees to hold

that hearing before, and allow the Rule 11 colloquy to be conducted by, the U.S.

Magistrate Judge, if necessary.




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                 (k)   If convicted in this matter, a defendant who is not a citizen of

the United States may be removed from the United States, denied citizenship, and

denied admission to the United States in the future.

       The defendant understands that by pleading guilty pursuant to this

agreement, the defendant is waiving all of the rights set forth in this paragraph.

The defendant's attorney has explained those rights and the consequences of

waiving those rights.

       6.        Recommendations: The United States will recommend the

defendant's offense level be decreased by two levels for acceptance of

responsibility, pursuant to USSG §3El.l(a), unless the defendant is found to have

obstructed justice prior to sentencing, pursuant to USSG §3Cl.1, or acted in any

way inconsistent with acceptance of responsibility. The United States will move

for an additional one-level reduction, pursuant to USSG §3El.1 (b ), if appropriate

under the Guidelines. The parties reserve the right to make any other arguments at

the time of sentencing. The defendant understands that the Court is not bound by

this recommendation.

       7.        Sentencing Guidelines: Although advisory, the parties agree that the

U.S. Sentencing Guidelines must be applied, and a calculation determined, as part

of the protocol of sentencing to determine what sentence will be reasonable.




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      8.     Waiver of Appeal of the Sentence - Conditional: The defendant

understands that the law provides a right to appeal and collaterally attack the

sentence imposed in this case. 18 U.S.C. § 3742(a); 28 U.S.C. §§ 2241, 2255. The

prosecution has a comparable right of appeal. 18 U.S.C. § 3742(b ). By this

agreement the defendant waives the right to appeal or collaterally attack any aspect

of the sentence, including conditions of probation or supervised release, if the

sentence imposed is within or below the guideline range calculated by the Court,

regardless of whether the defendant agrees with that range. This waiver includes

challenges to the constitutionality of any statute of conviction and arguments that

the admitted conduct does not fall within any statute of conviction. This waiver

does not prohibit the right to pursue a collateral challenge alleging ineffective

assistance of counsel. The United States waives its right to appeal any aspect of

the sentence if the sentence imposed is within or above the guideline range

calculated by the Court.

      9.     Voluntary Plea: The defendant and the defendant's attorney

acknowledge that no threats, promises, or representations have been made to

induce the defendant to plead guilty, and that this agreement is freely and

voluntarily endorsed by the parties.

      10.    Detention After Plea: The defendant acknowledges that he will be

detained pending sentencing.



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      11.    Breach: If the defendant breaches the terms of this agreement, or

commits any new criminal offenses between signing this agreement and

sentencing, the U.S. Attorney's Office is relieved of its obligations under this

agreement, but the defendant may not withdraw the guilty plea.

      12.    Entire Agreement: Any statements or representations made by the

United States, the defendant, or defense counsel prior to the full execution of this

plea agreement are superseded by this plea agreement. No promises or

representations have been made by the United States except as set forth in writing

in this plea agreement. This plea agreement constitutes the entire agreement

between the parties. Any term or condition which is not expressly stated as part of

this plea agreement is not to be considered part of the agreement.




                                       Eric R. Henkel
                                       Defense Counsel
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